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                                #:50734


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 4
                        UNITED STATES DISTRICT COURT
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                      CENTRAL DISTRICT OF CALIFORNIA
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 7   IN RE: NATIONAL FOOTBALL              Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
 8   ANTITRUST LITIGATION
                                           [PROPOSED] ORDER RE
 9   THIS DOCUMENT RELATES TO              PLAINTIFFS’ APPLICATION
     ALL ACTIONS                           UNDER LOCAL RULE 79-5 TO
10                                         FILE DOCUMENTS UNDER SEAL
11                                         JUDGE: Hon. Philip S. Gutierrez
12                                         DATE: May 17, 2024
                                           TIME: 10:00 p.m.
13                                         COURTROOM: First Street Courthouse
                                                      350 West 1st Street
14                                                    Courtroom 6A
                                                      Los Angeles, CA 90012
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 1           Pending before the Court is Plaintiffs’ Application Under Local Rule 79-5 to
 2   File Documents Under Seal. The Court has considered the application and GRANTS
 3   the application.
 4           IT IS HEREBY ORDERED that the following documents are to be filed under
 5   seal:
 6           1.    The sealed Declaration of Ian M. Gore in Support of Plaintiffs’
 7                 Application Under Local Rule 79-5 to File Documents Under Seal.
 8           2.    The unredacted version of the Memorandum in Opposition to the NFL
 9                 Defendants’ Motion to Quash Plaintiffs’ Trial Subpoena.
10           3.    The sealed version of Exhibit 2 to the Declaration of Ian M. Gore in
11                 Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion to
12                 Quash Plaintiffs’ Trial Subpoena.
13           4.    The sealed version of Exhibit 3 to the Declaration of Ian M. Gore in
14                 Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion to
15                 Quash Plaintiffs’ Trial Subpoena.
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17                                                 IT IS SO ORDERED.
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19   Dated: ___________________                    ______________________________
                                                   PHILIP S. GUTIERREZ
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                                                   United States District Judge
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